
On Application for Rehearing.
En Banc.
PER CURIAM.
Applications for rehearing must be filed by delivery into the actual custody of this court on or before the fourteenth calendar day after, but not including, the date that counsel receives the notice of judgment by mail or in person. Rule XI, Section 1, Uniform Rules of the Courts of Appeal (1961), Volume 8, LSA-R.S.; Wanless v. Louisiana Real Estate Board, La., 147 So. 2d 395; Jones v. United States Fidelity and Guaranty Co., La.App. 3 Cir., 148 So.2d 309, ruling on application for rehearing rendered this same date.
Our judgment herein was rendered on December 18, 1962. A return receipt shows that counsel for the appellants received the notice of judgment mailed to him on December 19, 1962, the following day. The fourteenth calendar day thereafter was January 2, 1963, so the application was required to be filed by actual delivery into the custody of this court by that date.
Counsel for appellants mailed his application for rehearing herein from Many, Louisiana on Friday, January 4, 1963. The application was received and filed by this court three days later, Monday, January 7, 1963, which was the nineteenth day after counsel received notice of our judgment. The application for rehearing is therefore not timely filed and will not be considered by this court.
For the foregoing reasons, the instant application for rehearing cannot be considered by this court.
Application not considered.
